     Case 1:16-cv-02145-JEJ-MCC Document 158 Filed 06/22/18 Page 1 of 5




              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JULIE ELLEN WARTLUFT F/K/A JULIE                     :
ELLEN BARTELS AND FREDERICK L.                       :
BARTELS, JR., Individually and as                    :
Administrators of the Estate of Abrielle Kira        : C.A. NO.:
Bartels, Deceased,                                   : 1:16-cv-02145-CCC
                                       Plaintiffs,   :
                        vs.                          : (CONNER, C.J.)
                                                     :
THE MILTON HERSHEY SCHOOL,                           :
and                                                  :
THE HERSHEY TRUST COMPANY, AS                        :
TRUSTEE OF THE MILTON HERSHEY                        :
SCHOOL TRUST,                                        :
                         Defendants.                 :
                                                     :

                                      ORDER

      AND NOW, this ____ day of ___________________, 201__, upon

consideration of Defendants’ Motion for Summary Judgment, and Plaintiffs’

Response in opposition thereto, it is hereby ORDERED that the Motion is

GRANTED. It is FURTHER ORDERED that judgment is entered in favor of

Defendants, and against Plaintiffs on all remaining counts.



                                              _____________________________
                                              Christopher C. Conner, Chief Judge
                                              United States District Court
                                              Middle District of Pennsylvania
     Case 1:16-cv-02145-JEJ-MCC Document 158 Filed 06/22/18 Page 2 of 5




              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JULIE ELLEN WARTLUFT F/K/A JULIE                     :
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BARTELS, JR., Individually and as                    :
Administrators of the Estate of Abrielle Kira        : C.A. NO.:
Bartels, Deceased,                                   : 1:16-cv-02145-CCC
                                       Plaintiffs,   :
                        vs.                          : (CONNER, C.J.)
                                                     :
THE MILTON HERSHEY SCHOOL,                           :
and                                                  :
THE HERSHEY TRUST COMPANY, AS                        :
TRUSTEE OF THE MILTON HERSHEY                        :
SCHOOL TRUST,                                        :
                         Defendants.                 :
                                                     :

          DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

      Pursuant to Rule 56 of the Federal Rules of Civil Procedure, Defendants, the

Milton Hershey School (“MHS” or the “School”), and The Hershey Trust

Company (“HTC”), as Trustee of The Milton Hershey School Trust, (collectively,

“Defendants”), move for summary judgment on all of Plaintiffs’ claims.1 For the

reasons set forth in Defendants’ Memorandum of Law in support thereof, and in

reliance upon Defendants’ Statement of Undisputed Facts, both of which are




      1
        On October 28, 2016, the Milton Hershey School Trust (“MHST”) and the
Board of Managers of the Milton Hershey School (“BOM”) were dismissed from
this action. See Dkt. Sheet (terminating MHTC and BOM from the case on
October 28, 2016).
     Case 1:16-cv-02145-JEJ-MCC Document 158 Filed 06/22/18 Page 3 of 5



incorporated herein by reference and are being contemporaneously submitted for

filing with the Court under seal, this Court should grant Defendants’ Motion.



                                      Respectfully submitted,

                                      ELLIOTT GREENLEAF, P.C.

                                      /s Jarad W. Handelman
                                      Jarad W. Handelman
                                      Kyle M. Elliott
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                                      kme@elliottgreenleaf.com

                                      Counsel for Defendants

Dated: June 22, 2018




                                         2
     Case 1:16-cv-02145-JEJ-MCC Document 158 Filed 06/22/18 Page 4 of 5




                 CERTIFICATE OF NON-CONCURRENCE

      Pursuant to Local Rule 7.1, undersigned counsel certifies that he sought

concurrence for the Motion from Plaintiffs, and that it has not been granted.



                                             /s Jarad W. Handelman
                                             Jarad W. Handelman, Esquire
Dated: June 22, 2018
     Case 1:16-cv-02145-JEJ-MCC Document 158 Filed 06/22/18 Page 5 of 5




                         CERTIFICATE OF SERVICE
      I, Jarad W. Handelman, Esquire, hereby certify that I caused the foregoing to

be served via electronic mail upon all counsel of record, including:

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                              John J. Higson, Esquire
                            John W. Schmehl, Esquire
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                           jschmehl@dilworthlaw.com
                               Counsel for Plaintiffs


                                             /s Jarad W. Handelman
                                             Jarad W. Handelman, Esquire
Dated: June 22, 2018




                                         4
